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     1 NINA F. LOCKER (SBN 123838)
       JONI OSTLER (SBN 230009)
     2 STEPHEN B. STRAIN (SBN 291572)
       DREW LIMING (SBN 305156)
     3 WILSON SONSINI GOODRICH & ROSATI
       PROFESSIONAL CORPORATION
     4 650 Page Mill Road
       Palo Alto, CA 94304
     5 Telephone: (650) 493-9300
       Facsimile: (650) 493-6811
     6
       Attorneys for Defendants Darren R.
     7 Jamison, Jayme Brooks, Richard
       Atkinson, Noam Lotan, Gary Mayo,
     8 Gary Simon, Eliot Protsch, Holly Van
       Deursen, and Darrell Wilk and Nominal
     9 Defendant Capstone Turbine Corporation
   10 AVI WAGNER (SBN 226688)
      THE WAGNER FIRM
   11 1925 Century Park East, Suite 2100
      Los Angeles, CA 90067
   12 Telephone: (310) 201-9150
   13 Attorney for Plaintiff Isaac Haber
   14
                            UNITED STATES DISTRICT COURT
   15
                         CENTRAL DISTRICT OF CALIFORNIA
   16
   17   ISAAC HABER, derivatively on          CASE NO.: CV16-01569-DMG (RAOx)
        behalf of CAPSTONE TURBINE
   18   CORPORATION                           STIPULATION REGARDING
                                              STAY OF ACTION AND
   19               Plaintiff,                RELATED MATTERS
   20         v.
   21   DARREN R. JAMISON,
        EDWARD I. REICH, JAYME
   22   BROOKS, RICHARD ATKINSON,
        NOAM LOTAN, GARY MAYO,
   23   GARY SIMON, ELIOT
        PROTSCH, HOLLY VAN
   24   DEURSEN, and DARRELL WILK
   25               Defendants,
   26               -and-
   27   CAPSTONE TURBINE
        CORPORATION,
   28
                    Nominal Defendant.
                   STIPULATION REGARDING STAY OF ACTION AND RELATED MATTERS
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   1         WHEREAS, on March 7, 2016, plaintiff Isaac Haber (“Plaintiff”) filed a

   2 shareholder derivative action allegedly on behalf of Capstone Turbine Corporation
   3 (“Capstone” or the “Company”) alleging violations of law and breaches of fiduciary
   4 duty against certain of the Company's current and former officers and directors
   5 (collectively with Capstone, “Defendants”) (Plaintiff and Defendants are
   6 collectively referred to herein as the “Parties”);
   7        WHEREAS, a factually related securities class action captioned In re

   8 Capstone Turbine Corp. Securities Litigation, Case No. CV 15-08914-DMG
   9 (RAOx), also is currently pending before Judge Dolly M. Gee in the U.S. District
  10 Court for the Central District of California (the “Class Action”), in which the
  11 plaintiff asserts federal securities claims against Capstone and certain of its current
  12 and former officers;
  13       WHEREAS, Capstone and the other defendants in the Class Action intend to

  14 file motion(s) to dismiss the Class Action;
  15       WHEREAS, while Plaintiff believes this Action has merit independent of and

  16 is not dependent on the outcome of the Class Action, the Parties agree that a ruling
  17 on Capstone’s anticipated motion to dismiss the Class Action may help inform the
  18 manner in which this Action proceeds;
  19      WHEREAS, in an effort to proceed in the most efficient manner, the Parties

  20 agree that this Action should be temporarily stayed until the resolution of the
  21 motion(s) to dismiss the Class Action;
  22         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by

  23 Plaintiff and Defendants, through their undersigned counsel of record and subject to
  24 approval of the Court, as follows:
  25         1.    This action, including all deadlines and hearings, is hereby stayed until

  26 the motion(s) to dismiss in the Class Action is either granted with prejudice or
  27 denied in whole or in part.
  28

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   1         2.     If Defendants engage in a mediation in the Class Action, Defendants
   2 agree to provide Plaintiff with reasonable advance notice of the mediation and shall
   3 invite Plaintiff to participate in that mediation.
   4         3.     If Defendants provide documents to the plaintiff in the Class Action in
   5 connection with a mediation or settlement discussions, Defendants agree to provide
   6 the same documents to Plaintiff in this action on the same terms they are provided to
   7 plaintiff in the Class Action.
   8         4.     By entering into this Stipulation, the Parties do not waive any rights not
   9 specifically addressed herein.       Defendants preserve all rights, objections, and
  10 defenses, including but not limited to all rights to contend that Plaintiff lacks
  11 standing to maintain this case because he did not make a pre-suit demand on
  12 Capstone’s Board of Directors. Plaintiff reserves all rights, including but not limited
  13 to the right to contend that he is entitled to pursue formal discovery.
  14         5.     Within 30 days of the expiration of the stay described above, the Parties
  15 shall jointly submit to the Court a proposed schedule for further proceedings in this
  16 action.
  17 IT IS SO STIPULATED
  18
       Dated: May 11, 2016                 /s/ Joni Ostler
  19                                       JONI OSTLER
  20                                       WILSON SONSINI GOODRICH & ROSATI

  21                                       Attorneys for Defendants Darren R. Jamison,
                                           Jayme Brooks, James Crouse, Richard
  22                                       Atkinson, Noam Lotan, Gary Mayo, Gary
                                           Simon, Eliot Protsch, Holly Van Deursen,
  23                                       Darrell Wilk, and John Jaggers and Nominal
                                           Defendant Capstone Turbine Corp.
  24
  25
  26   Dated: May 11, 2016                 /s/ Avi Wagner
                                           AVI WAGNER
  27                                       THE WAGNER FIRM
  28                                       Attorney for Plaintiff Isaac Haber

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                   STIPULATION REGARDING STAY OF ACTION AND RELATED MATTERS
